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                           UNITED STATES DISTRICT COURT

                                  DISTRICT OF OREGON

                                   PORTLAND DIVISION


 UNITED STATES OF AMERICA                                      3:18-CR-    COQ72- H2-
               v.                                                              INDICTMENT

 TYRONE LAMONT ALLEN,                                                       18 U.S.C. § 2113(a)

               Defendant.                                                 Forfeiture Allegation




                              THE GRAND JURY CHARGES:

                                          COUNTl
                                    (Credit Union Robbery)
                                     (18 U.S.C. § 2113(a))

       On or about April 3, 2017, within the District of Oregon, defendant TYRONE

LAMONT ALLEN, by intimidation, did knowingly and unlawfully take from the person and

presence of another approximately $6,000 in United States currency, belonging to and in the

care, custody, control, possession and management of On Point Credit Union, located at 1720

NE 9th Avenue, Portland, Oregon, a credit union whose deposits were then insured by the

National Credit Union Administration Board (NCUAB);

       In violation of Title 18, United States Code, Section 2113(a).

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                                          COUNT2
                                        (Bank Robbery)
                                     (18 U.S.C. § 2113(a))

       On or about April 4, 2017, within the District of Oregon, defendant TYRONE

LAMONT ALLEN, by intimidation, did knowingly and unlawfully take from the person and

presence of another approximately $2, 772 in United States currency, belonging to and in the

care, custody, control, possession and management of Wells Fargo Bank, located at 5730 NE

Martin Luther King Jr. Boulevard, Portland, Oregon, a bank whose deposits were then insured by

the Federal Deposit Insurance Corporation (FDIC);

       In violation of Title 18, United States Code, Section 21 B(a).

                                          COUNT3
                                  (Attempted Bank Robbery)
                                     (18 U.S.C. § 2113(a))

       On or about April 7, 2017, within the District of Oregon, defendant TYRONE

LAMONT ALLEN, by intimidation, did knowingly and unlawfully attempt to take from the

person and presence of another United States currency, belonging to and in the care, custody,

control, possession and management of Bank of the West, located at 905 NE Halsey Street,

Portland, Oregon, a bank whose deposits were then insured by the Federal Deposit Insurance

Corporation (FDIC);

       In violation of Title 18, United States Code, Section 2113(a).

                                          COUNT4
                                    (Credit Union Robbery)
                                     (18 U.S.C. § 2113(a))

       On or about April 7, 201 7, within the District of Oregon, defendant TYR0 NE

LAMONT ALLEN, by intimidation, did knowingly and unlawfully take from the person and

presence of another approximately $5,335 in United States currency, belonging to and in the

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care, custody, control, possession and management of Advantis Credit Union, located at 3 515

NE 15th A venue, Portland, Oregon, a credit union whose deposits were then insured by the

National Credit Union Administration Board (NCUAB);

       In violation of Title 18, United States Code, Section 2113(a).

                             CRIMINAL FORFEITURE ALLEGATION

       Upon conviction of an offense as alleged in Count 1, 2, 3, and 4 of this Indictment,

defendant TYRONE LAMONT ALLEN shall forfeit to the United States pursuant to 18 U.S.C.

§ 981(a)(l )(C) and 28 U.S.C. § 2461(c) any property constituting or derived from proceeds

obtained directly or indirectly as a result of the crime charged, including but not limited to the

following:

       A sum of money equal to $14,107 in United States currency, representing the amount of

proceeds obtained as a result of the offenses, in the form of a money judgment.

       Dated this   d7th   day of February 2018.

                                                      A TRUE BILL.


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                                                      OFFICIATING FOREPERSON




Presented by:

BILLY J. WILLIAMS
United States Attorn~               •


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Assistant United States Attorney




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